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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
==========================================X
JOAN FRASER,                                                         Index No.: 20-5741

                                                                     JURY TRIAL
                              Plaintiff,                             DEMANDED

        -against-                                                    COMPLAINT

THE CITY OF NEW YORK, THE NEW YORK
CITY POLICE DEPARTMENT, and POLICE
OFFICERS JOHN DOEs 1-5, unknown and intended
to be name later New York City Police Department
Officers involved in the occurrence herein, individually
and in their respective capacitates as members of the
New York City Police Department,

                         Defendants.
==========================================X
     Plaintiff, JOAN FRASER, by and through her attorneys ETHAN D. IRWIN, P.L.L.C., as

and for their complaint against Defendants, alleges and shows to the Court as follows:

                                PRELIMINARY STATEMENT

        1.     This is a civil rights and excessive force action seeking monetary relief, (including

past and ongoing economic loss), compensatory and punitive damages, injunctive relief, attorney’s

fees, costs, and disbursements for violation of Plaintiffs’ Civil and Constitutional Rights, brought

pursuant 42 U.S.C. §§ l983, 1984, and 1981; and of rights secured by the 1st, 4th, and 14th

Amendments of the United States Constitution and other State Law causes of action.

        2.     Specifically, Plaintiff alleges that Defendants did intentionally, negligently,

wantonly, recklessly, knowingly and purposefully, acting individually and in conspiracy with each

other, sought to deprive Plaintiff JOAN FRASER of her Civil Rights, and did commit tortious acts

upon Plaintiff JOAN FRASER through a pattern of abuse and a campaign of threats, violence, and

retaliation.
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       3.      Said acts heretofore mentioned were done knowingly, at the direction of, and with

the consent and condonation, of Defendants THE CITY OF NEW YORK, THE NEW YORK

CITY POLICE DEPARTMENT, and POLICE OFFICERS JOHN DOEs 1-5, unknown and

intended to be name later New York City Police Department Officers involved in the occurrence

herein, individually and in their respective capacitates as members of the New York City Police

Department, and, in their official and individual capacities (collectively referred to herein as

“Defendants”), with the express purpose of punishing, silencing, isolating, removing, and

retaliating against JOAN FRASER, and generally violating the rights of JOAN FRASER, as

protected by the United States and New York State Constitutions, Federal and State statutes, rules

and regulations. Said illegal activities were known to the Defendants and were accepted and

supported as policy, custom, and practice.

                                JURISDICTION AND VENUE

       4.      Jurisdiction is conferred on this Court by 28 U.S.C. § 1331, 28 U.S.C. §§ 1343(3)

and (4).

       5.      Venue herein is proper pursuant to 28 U.S.C. § 139l(b), based on the residence of

Plaintiff and the place where the actions complained of herein have occurred.

                                             PARTIES

       6.      Plaintiff JOAN FRASER was and is a resident of the County of Brooklyn, City and

State of New York.

       7.      At all times herein mentioned, Defendant, THE CITY OF NEW YORK, was and

still is a municipal corporation organized and existing under the laws of the State of New York.

       8.      On or about June 30, 2020, Plaintiff timely served a Notice of Claim in writing

upon THE CITY OF NEW YORK within the proper statutory framework.
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       9.      At least thirty (30) days have elapsed since the service of the Notice of Claim prior

to the commencement of this action and adjustment or payment thereof has been neglected or

refused, and this action has been commenced within one (1) years and ninety (90) days after the

happening of the event upon which claims are based.

       10.     Plaintiff has complied with the request of the municipal defendants for an oral

examination pursuant to Section 50-h of the General Municipal law by testifying at a 50-h hearing

on October 19, 2020.

       11.     At all times mentioned hereinafter, THE CITY OF NEW YORK, its agents,

servants, and employees (hereinafter “City”) operated, maintained, and controlled the NEW

YORK CITY POLICE DEPARTMENT (hereinafter “NYPD”), including all the police officers

and employees thereof.

       12.     Defendants POLICE OFFICERS JOHN DOEs 1-5, unknown and intended to be

name later New York City Police Department Officers involved in the occurrence herein, were

employed and trained by the City on May 29, 2020 and at all times herein were acting in such

capacity as the agents, servants, and/or employees of the City within the scope of their employment

and under the direction of the City and NYPD. These Defendant-Officers are being sued in their

individual capacities and official capacities.

       13.     At all times hereinafter mentioned and specifically on or about May 29, 2020, at

approximately 10:15 to 10:30 PM, near the intersection of Classon Avenue and Lafayette Avenue

(hereinafter “location of incident”), Defendant-Officers individually and collectively were acting

within the scope of their employment and under the direction of the City and the NYPD as their

agents, servants, and/or employees. Consequently, the City is liable under the doctrine of

respondeat superior for all officers’ tortious actions.
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       14.     On or about the date of incident and at all relevant times hereunder, Defendant-

Officers acted as police officers and were required to follow the rules and regulations as contained

in the NYPD Patrol Guidelines.

       15.     On or about the date of incident, Defendant-Officers were present at the location of

incident.

       16.     On or about the date of incident at the location of the incident, Plaintiff was twice

wrongfully attacked, touched, grabbed, pushed, slammed, seized, precipitated to the ground,

otherwise subjected to excessive force by Defendant-Officers without any lawful basis.

       17.     Each and every Defendant acted in collusion with, and as agents of, each other,

during the abuse and assault of Plaintiff JOAN FRASER on or about May 29, 2020. Each and

every Defendant are liable for Plaintiffs’ injuries therefor both in their individual and in their

official capacity for actions taken at and during the events complained of.

                   ALLEGATIONS COMMON TO ALL CAUSES OF ACTION

       18.     Plaintiff JOAN FRASER was lawfully present and recording a protest that was

taking place on a public street near the intersection of Classon Avenue and Lafayette Avenue, in

the County of Brooklyn, City and State of New York.

       19.     That on or about May 29, 2020 between 10:15 PM and 10:30 PM, Plaintiff JOAN

FRASER was twice struck about her upper body by one or more of the NYPD officer Defendants

with their hands and a police baton, slamming and pushing the Plaintiff JOAN FRASER to the

ground, for no reason other than she was exercising her United States Constitution First

Amendment right to film said protests.
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        20.     Upon information and belief, Defendant-Officers pushed her with their hands and

the police baton, and then shortly after, pushed her again, even more violently, and this second

harder push violently knocked her to the ground, causing severe, serious, and permanent injuries.

        21.     Upon information and belief, Defendant-Officers never gave instructions or orders

for the Plaintiff to leave the area.

        22.     Upon information and belief, that after she was knocked to the ground, Plaintiff

JOAN FRASER informed the Defendant-Officers that she was injured and proceeded to a nearby

ambulance.

        23.     Upon information and belief, Plaintiff JOAN FRASER was treated by EMS at the

ambulance where they bandaged her wounds.

        24.     Upon information and belief, that on the following day, on May 30, 2020, Plaintiff

JOAN FRASER went to the hospital for treatment, and she has and will continue to require

additional treatment for her various injuries.

        25.     Acting in collusion and concert, Defendants the City, NYPD, and POLICE

OFFICERS JOHN DOEs 1-5, upon information and belief, without proper authority or

justification under the circumstances, did use excessive and unnecessary physical force upon

Plaintiff JOAN FRASER.

        26.     Upon information and belief, Defendants THE CITY OF NEW YORK and THE

NEW YORK CITY POLICE DEPARTMENT, did impermissibly delegate use force to POLICE

OFFICERS JOHN DOEs 1-5, unknown and intended to be name later New York City Police

Department Officers involved in the occurrence herein, individually and in their respective

capacitates as members of the New York City Police Department, and, in their official and

individual capacities.
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          27.   Upon information and belief, Defendants THE CITY OF NEW YORK and THE

NEW YORK CITY POLICE DEPARTMENT, failed to take proper and necessary disciplinary or

corrective action against Defendants POLICE OFFICERS JOHN DOEs 1-5.

          28.   Upon information and belief, Defendants POLICE OFFICERS JOHN DOEs 1-5

are still employed by the Defendants and have never been disciplined or otherwise reprimanded

for their illegal, excessive, and unnecessary use of force.

          29.   That the Defendants were at all times acting under color of State Law.

                       AS AND FOR A FIRST CAUSE OF ACTION
                  (Fourth Amendment – Excessive Force – 42 U.S.C. § 1983)
          30.   Plaintiff repeats and reiterates the allegations set forth in paragraph’s “1”

through”29” inclusive of this Complaint with the same force and effect as though fully set forth

hereat.

          31.   That the Defendants THE CITY OF NEW YORK, THE NEW YORK CITY

POLICE DEPARTMENT, and POLICE OFFICERS JOHN DOEs 1-5 did violate the Fourth

Amendment Rights of Plaintiff JOAN FRASER.

          32.   That on or about May 29, 2020, the Defendants THE CITY OF NEW YORK, THE

NEW YORK CITY POLICE DEPARTMENT, and POLICE OFFICERS JOHN DOEs 1-5 in their

official and individual capacities did violate Plaintiff JOAN FRASER’s Fourth Amendment Rights

by causing her to be subjected to unreasonable and Excessive Force under the circumstances then

and there existing.

          33.   That the actions of these Defendants against Plaintiffs were objectively excessive

and unreasonable.
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          34.   That Plaintiff’s Fourth Amendment Right to be free from Excessive Use of Force

are Rights that are so clearly established that a reasonable person under the circumstances

presented herein would have known the said conduct was a violation of the Plaintiff’s Rights.

          35.   That the Defendants THE CITY OF NEW YORK, THE NEW YORK CITY

POLICE DEPARTMENT, and POLICE OFFICERS JOHN DOEs 1-5 failed to intervene in the

Constitutional Violations against Plaintiff.

          36.   Defendants, acting under color of State Law, have caused Plaintiff to be deprived

of her Rights, Privileges, and Immunities as secured by the Constitution of the United States, and

other federal laws: namely, the Fourth Amendment to the Constitution of the United States; and

42 U.S.C. § 1983.

          37.   Defendants are and were aware that their actions against Plaintiff were a violation

of the Rights granted to Plaintiff pursuant to the Fourth Amendment to the Constitution of the

United States and 42 U.S.C. § 1983.

          38.   On or about May 29, 2020, Defendant POLICE OFFICERS JOHN DOEs 1-5 acted

with evil motive and intent and/or with callous indifference toward the Civil Rights of Plaintiff

JOAN FRASER.

          39.   As a result of the acts of each Defendant complained of Plaintiff JOAN FRASER

sustained injuries, pain and suffering, emotional distress, medical expenses, other expenses, loss

of enjoyment of life, and other pecuniary loss.

                       AS AND FOR A SECOND CAUSE OF ACTION
                                  (14th Amendment)
          40.   Plaintiff repeats and reiterates the allegations set forth in paragraph’s “1”

through”39” inclusive of this Complaint with the same force and effect as though fully set forth

hereat.
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          41.   Defendants THE CITY OF NEW YORK, THE NEW YORK CITY POLICE

DEPARTMENT, and POLICE OFFICERS JOHN DOEs 1-5, in their official and individual

capacities, did violate the Fourteenth Amendment Civil Rights of Plaintiff JOAN FRASER.

          42.   That on or about May 29, 2020 and thereafter, these Defendants did violate Plaintiff

JOAN FRASER’s Fourteenth Amendment Rights by engaging in conduct that is shocking to the

conscience and is offensive to the community’s sense of fair play and decency.

          43.   Defendants, acting under color of State Law, have caused Plaintiff to be deprived

of her rights, privileges and immunities as secured by the Constitution, and other federal laws:

namely, the Fourteenth Amendment to the Constitution of the United States; and 42 U.S.C. § 1983.

          44.   Defendants are and were aware, that their actions against Plaintiff were a violation

of the Rights guaranteed to Plaintiff pursuant to the Fourteenth Amendment to the Constitution of

the United States and 42 U.S.C. § 1983.

          45.   On or about May 29, 2020, Defendant POLICE OFFICERS JOHN DOEs 1-5, acted

with evil motive and intent and/or with callous indifference toward the Civil Rights of Plaintiff

JOAN FRASER.

          46.   As a result of the acts of each Defendant complained of, Plaintiff JOAN FRASER

sustained physical injuries, pain and suffering, emotional distress, medical expenses, other

expenses, loss of income, loss of enjoyment of life and other pecuniary loss.

                        AS AND FOR A THIRD CAUSE OF ACTION
                         (Negligent Infliction of Emotional Distress)

          47.   Plaintiff repeats and reiterates the allegations set forth in paragraph’s “1”

through”46” inclusive of this Complaint with the same force and effect as though fully set forth

hereat.

          48.   That the Defendants owed a Duty of Care to the Plaintiff.
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          49.   That the Defendants have violated that Duty of Care owed to Plaintiff.

          50.   That the Defendants have violated the Standard of Care.

          51.   That through their Negligence, the Defendants have caused the negligent infliction

of emotional distress on Plaintiff.

                       AS AND FOR A FOURTH CAUSE OF ACTION
                        (Negligent Hiring, Retention, and Supervision)

          52.   Plaintiff repeats and reiterates the allegations set forth in paragraph’s “1”

through”51” inclusive of this Complaint with the same force and effect as though fully set forth

hereat.

          53.   That the Defendants THE CITY OF NEW YORK, THE NEW YORK CITY

POLICE DEPARTMENT, and Defendant POLICE OFFICERS JOHN DOEs 1-5 have contributed

to the injury suffered by Plaintiff JOAN FRASER.

          54.   That the Defendants THE CITY OF NEW YORK, THE NEW YORK CITY

POLICE DEPARTMENT, have created policies which permit and/or encourage an impermissible

delegation of matters of discipline.

          55.   That these failures are caused by the Defendants THE CITY OF NEW YORK, THE

NEW YORK CITY POLICE DEPARTMENT, who are responsible for the actions of their

employees.

          56.   As a result of the acts of each Defendant complained of, Plaintiff sustained injuries,

pain and suffering, emotional distress, medical expenses, other expenses, loss of income, loss of

enjoyment of life and other pecuniary loss.
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                          AS AND FOR A FIFTH CAUSE OF ACTION
                            (Intentional Tort – Assault and Battery)

           57.   Plaintiff repeats and reiterates the allegations set forth in paragraph’s “1”

 through”56” inclusive of this Complaint with the same force and effect as though fully set forth

 hereat.

           58.   On or about May 29, 2020, Defendant POLICE OFFICERS JOHN DOEs 1-5,

 intentionally committed the tortious act of assault against Plaintiff JOAN FRASER by

 intentionally placing Plaintiff JOAN FRASER in apprehension of imminent and harmful contact

 by these Defendants.

           59.   On or about May 29, 2020, Defendant POLICE OFFICERS JOHN DOEs 1-5

 committed battery upon and against the Plaintiff JOAN FRASER by making an intentional and

 offensive bodily contact against her.

           60.   That the Plaintiff reasonably perceived an imminent threat from Defendant

 POLICE OFFICERS JOHN DOEs 1-5, and that these Defendants were capable, at the time the

 threat was made, of carrying out said threat.

           61.   The Plaintiff reasonably believed these Defendants were capable thereof, and a

 reasonable person, in the Plaintiff’s circumstances, would have likewise been apprehensive of the

 pending assault.

           62.   Defendant POLICE OFFICERS JOHN DOEs 1-5 did wrongfully act and commit

 battery upon the Plaintiff by striking her multiple times with their hands and baton.

           63.   Defendant POLICE OFFICERS JOHN DOEs 1-5 did intend to cause harmful or

 offensive contact upon the Plaintiff’s person.

           64.   Defendant POLICE OFFICERS JOHN DOEs 1-5 did in fact cause an harmful

 and/or offensive contact to the Plaintiff.
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           65.   As a result of these acts of Defendant POLICE OFFICERS JOHN DOEs 1-5,

 Plaintiff sustained physical injuries, pain and suffering, emotional distress, medical expenses, other

 expenses, loss of income, loss of enjoyment of life, injury to her reputation, and other pecuniary

 loss.

                         AS AND FOR A SIXTH CAUSE OF ACTION
                          (Intentional Infliction of Emotional Distress)

           66.   Plaintiff repeats and reiterates the allegations set forth in paragraph’s “1”

 through”65” inclusive of this Complaint with the same force and effect as though fully set forth

 hereat.

           67.   Defendants THE CITY OF NEW YORK, THE NEW YORK CITY POLICE

 DEPARTMENT, and POLICE OFFICERS JOHN DOEs 1-5, have violated the Duty of Care owed

 to Plaintiff JOAN FRASER.

           68.   Defendants THE CITY OF NEW YORK, THE NEW YORK CITY POLICE

 DEPARTMENT, and POLICE OFFICERS JOHN DOEs 1-5, have violated the Standard of Care.

           69.   That these actions and conduct of the Defendants, as set forth herein, were extreme

 and outrageous.

           70.   That the actions and conduct of the Defendants, as set forth herein, were done with

 the intent to cause extreme and severe emotional distress to Plaintiff.

           71.   That the actions and conduct of the Defendants, as set forth herein, were the

 proximate cause of the Plaintiff’s injuries.

           72.   That the actions and conduct of the Defendants, as set forth herein, did cause the

 Plaintiff to suffer severe emotional distress that no reasonable person should have to suffer or

 endure. Defendants either intended to inflict emotional distress upon Plaintiff by engaging in this

 conduct, or knew that there was a high probability that such conduct would result in such distress.
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        73.     As a result of the acts of each Defendant complained of, Plaintiff sustained physical

 injuries, pain and suffering, emotional distress, medical expenses, other expenses, loss of income,

 loss of enjoyment of life and other pecuniary loss.

                       AS AND FOR A SEVENTH CAUSE OF ACTION
                          (Monell Claim – Unconstitutional Policies)

        74.     Plaintiff repeats and reiterates the allegations set forth in paragraph’s “1” through

 “73” inclusive of this Complaint with the same force and effect as though fully set forth hereat.

        75.     That Defendants THE CITY OF NEW YORK and THE NEW YORK CITY

 POLICE DEPARTMENT, were Policymakers, for 42 U.S.C. § 1983 purposes, for the NEW

 YORK CITY POLICE DEPARTMENT and its officers, including Defendant-Officers JOHN

 DOEs 1-5 herein.

        76.     That Defendants THE CITY OF NEW YORK and THE NEW YORK CITY

 POLICE DEPARTMENT, promulgated official Policies, Rules, and Regulations for the NYPD

 and its officers and employees, including the Defendant-Officers JOHN DOEs 1-5 herein, creating

 an Official Policy allowing, permitting, and encouraging the use of Excessive Force by its

 employees, including these Defendant-Officers employed thereat, against citizens generally,

 including the Plaintiff JOAN FRASER, in violation of her Constitutional Rights.

        77.     That the aforementioned Defendant Policymakers’ acted with gross negligence in

 the hiring, training, and/or disciplining of the POLICE OFFICERS JOHN DOEs 1-5.

        78.     That the aforementioned Defendant Policymakers’, despite the egregious actions

 set forth herein by the POLICE OFFICERS JOHN DOEs 1-5, against the Plaintiff JOAN

 FRASER, authorized and/or encouraged the Defendant-Officers illegal use of Excessive Force,

 and repeatedly failed to take any remedial or punitive steps against these Defendant-Officers for

 their illegal use of Excessive Force generally, despite the fact that such actions are persistent and
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 widespread throughout THE NEW YORK CITY POLICE DEPARTMENT, and more specifically

 against the Plaintiff JOAN FRASER, and therefore an implied Policy of improper use of Excessive

 Force should be inferred.

        79.     That as a direct result of the aforementioned Defendants official Policies, Rules,

 and Regulations, Plaintiff JOAN FRASER did sustained physical injuries, pain and suffering,

 emotional distress, medical expenses, other expenses, loss of income, loss of enjoyment of life and

 other pecuniary loss.

                                 TENTH CAUSE OF ACTION
                              (Monell Claim – Inadequate Training)

        80.     Plaintiff repeats and reiterates the allegations set forth in paragraph’s “1” through

 “79” inclusive of this Complaint with the same force and effect as though fully set forth hereat.

        81.     That Defendants THE CITY OF NEW YORK and THE NEW YORK CITY

 POLICE DEPARTMENT, were Policymakers, for 42 U.S.C. § 1983 purposes, for THE NEW

 YORK CITY POLICE DEPARTMENT.

        82.     That Defendants THE CITY OF NEW YORK and THE NEW YORK CITY

 POLICE DEPARTMENT, utterly failed to train their Police Officers, including the POLICE

 OFFICERS JOHN DOEs 1-5 herein.

        83.     That Defendants as Policymakers, by failing to adequately train these Defendant-

 Officers in the proper identification, use, and application of reasonable force, acted with deliberate

 indifference to the Constitutional Rights of Citizens of the City of New York, and more specifically

 the Plaintiff JOAN FRASER.

        84.     That the aforementioned Defendant Policymakers’ inadequate training of

 Defendant POLICE OFFICERS JOHN DOEs 1-5, directly resulted in the injuries complained of

 by Plaintiff JOAN FRASER, including physical injuries, pain and suffering, emotional distress,
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 medical expenses, other expenses, loss of income, loss of enjoyment of life, and other pecuniary

 loss.

         85.    That the aforementioned Defendant Policymakers’ had actual and/or constructive

 knowledge of the Constitutional Violations by the Defendant POLICE OFFICERS JOHN DOEs

 1-5 and failed to take any actions, including training, to correct their Constitutional Violations.

         86.    That the aforementioned Defendant Policymakers’ failure to train the Defendant-

 Officers, including POLICE OFFICERS JOHN DOEs 1-5, amounts to a Custom or Policy of

 authorizing and encouraging their misconduct and use of Excessive Force.

         87.    That at all relevant times herein, and as a direct result of the Defendants’ inactions,

 there existed a de facto policy of tacit approval of the Defendant-Officers’ use of Excessive Force

 against citizens, more specifically against the Plaintiff JOAN FRASER herein, in violation of her

 United States Constitution Fourth Amendment Rights.

         88.    That as a direct result of the aforementioned, Plaintiff JOAN FRASER did sustain

 physical injuries, pain and suffering, emotional distress, medical expenses, other expenses, loss of

 income, loss of enjoyment of life, and other pecuniary loss.

                               ELEVENTH CAUSE OF ACTION
                        (Fourteenth Amendment – Due Process Violation)

         89.    Plaintiff repeats and reiterates the allegations set forth in paragraph’s “1” through

 “88” inclusive of this Complaint with the same force and effect as though fully set forth hereat.

         90.    That at all relevant times herein the Plaintiff JOAN FRASER was in the custody of

 the Defendants.

         91.    That at all relevant times herein the Defendants did wrongly and affirmatively

 restrain the Plaintiff JOAN FRASER’s freedom to act on her own behalf, depriving her of her

 personal liberty, by twice forcibly pushing and striking her, and pushing her to the ground.
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        92.     That at all relevant times herein the Defendants did fail to properly and adequately

 address the Plaintiff JOAN FRASER’s physical injuries, despite their control over her.

        93.     That at all relevant times herein the Defendants failed to protect the Plaintiff JOAN

 FRASER and were deliberately indifferent to Plaintiff JOAN FRASER’s condition and needs.

        94.     Further, that as a result of the foregoing, the Defendants herein did violate Plaintiff

 JOAN FRASER’s United States Constitution Due Process Rights under the Fourteenth

 Amendment.

        95.     That as a direct result of the aforementioned, Plaintiff JOAN FRASER did sustain

 physical injuries, pain and suffering, emotional distress, medical expenses, other expenses, loss of

 income, loss of enjoyment of life, and other pecuniary loss.

                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs demand judgment as follows:

                a.      First Cause of Action: in excess of $1,000,000.00 in damages,

        compensatory damages, punitive damages, costs, interest, and attorney's fees;

                b.      Second Cause of Action:         in excess of $1,000,000.00, in damages,

        compensatory damages, punitive damages, costs, interest, and attorney's fees;

                c.      Third Cause of Action:         in excess of $1,000,000.00, in damages,

        compensatory damages, punitive damages, costs, interest, and attorney's fees;

                d.      Fourth Cause of Action: in excess of $1,000,000.00, in damages,

        compensatory damages, punitive damages, costs, interest, and attorney's fees;

                e.      Fifth Cause of Action: in excess of $1,000,000.00, in damages,

        compensatory damages, punitive damages, costs, interest, and attorney's fees;
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                 f.   Sixth Cause of Action: in excess of $1,000,000.00, in damages,

       compensatory damages, punitive damages, costs, interest, and attorney's fees;

                 g.   Seventh Cause of Action:       in excess of $1,000,000.00, in damages,

       compensatory damages, punitive damages, costs, interest, and attorney's fees;

                 h.   Eighth Cause of Action:       in excess of $1,000,000.00, in damages,

       compensatory damages, punitive damages, costs, interest, and attorney's fees;

                 i.   Ninth Cause of Action:        in excess of $1,000,000.00, in damages,

       compensatory damages, punitive damages, costs, interest, and attorney's fees;

                 j.   Tenth Cause of Action:        in excess of $1,000,000.00, in damages,

       compensatory damages, punitive damages, costs, interest, and attorney's fees;

                 k.   Eleventh Cause of Action:      in excess of $1,000,000.00, in damages,

       compensatory damages, punitive damages, costs, interest, and attorney's fees;

                 l.   Attorney’s fees and costs pursuant to 42 U.S.C.A. § 1988;

                 m.   A Declaratory Judgment that Defendants willfully violated Plaintiffs’

       Rights secured by the United States Constitution, Federal, State and Local law as alleged

       herein;

                 n.   Injunctive relief: an injunction requiring Defendants to correct all present

       and past Constitutional, Federal, State, and Local Law violations as alleged herein; to

       enjoin Defendants from continuing to act in violation of Federal, State and Local law as

       alleged herein; and to order such other injunctive relief as may be appropriate to prevent

       any future violations of said Constitutional, Federal, State and Local Laws; and
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              o. An order granting such other legal and equitable relief as this Court deems just

       and proper under the circumstances.

   Dated: November 23, 2020                        Yours, etc.,
          New York, NY                             ETHAN D. IRWIN, PLLC

                                                   ___________________________
                                                          Ethan D. Irwin, Esq.
                                                   Attorneys for Plaintiff
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                                                   New York, NY 10006
                                                   Tel. (929) 286-6522
                                                   eFax: (516) 706-6948
                                                   ethan@ethanirwinlaw.com
 TO DEFENDANTS:
    1. The City of New York
    2. The New York City Police Department
    3. Police Officers John Does 1-5

    The City of New York
    100 Church St.
    New York, New York 10007
    New York City Police Department
    1 Police Plaza Path
    New York, NY 10007

    Police Officer John Does 1-5
    1 Police Plaza Path
    New York, NY 10038
